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EXHIBIT “A”
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re:
USA COMMERCIAL MORTGAGE COMPANY,

Debtor.
In re:
USA CAPITAL REALTY ADVISORS, LLC,
Debtor.
In re:

USA CAPITAL DIVERSIFIED TRUST DEED
FUND, LLC,

Debtor.

In re:
USA CAPITAL FIRST TRUST DEED FUND,
LLC,

Debtor.

In re:
USA SECURITIES, LLC,

Debtor.

Affects:

All Debtors

USA Commercial Mortgage Company
USA Securities, LLC

USA Capital Realty Advisors, LLC

USA Capital Diversified Trust Deed Fund,
LLC

USA First Trust Deed Fund, LLC

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Case No. BK-S-06-10725 LBR
Case No. BK-S-06-10726 LBR
Case No. BK-S-06-10727 LBR
Case No. BK-S-06-10728 LBR
Case No. BK-S-06-10729 LBR

Chapter 11

Jointly Administered Under
Case No. BK-S-06-10725 LBR

DECLARATION OF DAVID BLATT IN
FURTHER SUPPORT OF MOTION FOR
ORDER ENFORCING CONFIRMATION
ORDER AND DETERMINING NO
SURVIVING SECTION 3 RIGHT EXISTS
WITH RESPECT TO THE FIESTA

OAK VALLEY LOAN

I, DAVID BLATT, hereby declare under penalty of perjury that the

following is true and correct:

1. Iam over 18 years of age, and I have personal knowledge of each

of the facts stated in this declaration (“Declaration”), except where otherwise indicated

below. If called as a witness, I could and would testify as to the matters set forth below

based upon my personal knowledge, except where otherwise indicated below.

2. I am a Managing Director of Compass Financial Partners LLC, a

Nevada limited liability company, an affiliate of Compass USA SPE LLC, a Delaware

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limited liability company (together, “Compass”), and am competent to testify with
respect to the matters recited herein.
3. T submit this declaration in further support of the motion (the

“Compass Motion”), dated March 30, 2007, for an order enforcing paragraph 14 of the

Order Confirming the Debtors’ Third Amended Joint Chapter 11 Plan of Reorganization

(the “Plan”), entered January 8, 2007 (the “Confirmation Order”), and determining no

Surviving Section 3 Right (as such term is defined in the Confirmation Order) exists or is
exercisable with respect to the loan commonly referred to as “Fiesta Oak Valley” (the
“Loan”). Unless otherwise defined herein, capitalized terms shall have the meanings
ascribed to them in the Compass Motion.

I. My Educational and Professional Background

4, I have an extensive educational and professional background in
finance, lending and troubled loan servicing and work-outs.

5. I hold a Bachelor of Science degree in Business Management from
Yeshiva University, a JD from the Benjamin Cardozo School of Law, and an MBA from
the Zicklin School Of Business at Baruch College. In addition, I hold a Masters Degree
in Negotiation and Dispute Resolution from Pepperdine University School of Law, and
am licensed to practice law in New York, New Jersey and California.

6. In my capacity as a Managing Director of Compass, my
responsibilities include managing and servicing and, as needed, restructuring millions of
dollars in loans on an annual basis. I have served in this capacity since the founding of

Compass in 2005,

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7. Prior to joining Compass, I managed a private equity firm for three
years known as Blatt Holdings LLC. My responsibilities in such capacity included
acquiring and managing real estate assets.

8. Prior to working at Blatt Holdings LLC, I was employed for three
years at Flatiron Real Estate Partners LLC, a real! estate acquisitions firm focused on
environmentally and financially distressed assets, where I specialized in distressed real
estate acquisitions.

IL. The APA and the Fiesta Oak Valley Loan

9, As the Court is aware, on February 16, 2007 (the “Closing Date”),
Compass acquired substantially all of the assets of USACM and FTDF (collectively, the
“Assets”) in exchange for cash consideration of approximately $67 million. Compass
was the successful bidder for the Assets at an auction conducted before the Bankruptcy

Court on December 7, 2006 (the ““Auction”). To the best of my knowledge, information,

and belief, Debt Acquisition Company of America V (“DACA”) did not submit a bid for
the Assets in conjunction with the Auction.

10. The terms of Compass’ acquisition of the Assets were set forth in
an Asset Purchase Agreement, dated December 8, 2006 (the “APA”), which was
approved by the Court pursuant to the Confirmation Order. Pursuant to the APA, the
Assets acquired by Compass include, among other things, the right to act as loan servicer
with respect to a portfolio of approximately 85 loans (including the Fiesta Oak Valley
Loan), as well as, without limitation, Default Rate Interest, Accrued Servicing Fees, Late
Charges, Success Fees (each as such term is defined in the APA), and other fees and

sums due the loan servicer under any of the Servicing Agreements.

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IIL. Compass’ Post-Closing Servicing of the USACM Loans

11. Immediately upon replacing USACM as loan servicer on February
16, 2007, Compass has taken swift, prudent action on behalf of the Direct Lenders to
initiate dialogue with borrowers and guarantors to determine the optimal strategy for
maximizing recovery for the benefit of investors in an efficient, cost-effective, and timely
manner.

12. Within days of the Closing Date, Compass had opened an office in
Las Vegas, Nevada, hired numerous qualified professionals with a broad range of
experience in the loan servicing industry, and immediately traveled around the country to
meet with borrowers and guarantors, and inspect the collateral securing the various loans.

13. Subsequent to the Closing Date, in mere weeks, Compass has
successfully negotiated and consummated full payoffs to Direct Lenders on a growing list
of loans. Compass is currently in the process of finalizing successful resolutions of
various other loans which will result in the maximum possible payoffs to the Direct
Lenders under the prevailing circumstances.

14. | Compass knows the appropriate time to initiate foreclosure actions
where necessary, having already done so on multiple occasions in its initial weeks as loan
servicer. However, due to the extensive costs to investors, uncertainties, and delays
associated with foreclosure proceedings, Compass deems it prudent to pursue negotiated
resolutions with borrowers first prior to immediately proceeding to foreclosure.

IV. Compass’ Post-Closing Servicing of the Fiesta Oak Valley Loan

15. | Compass has actively serviced the Fiesta Oak Valley Loan in the

few weeks it has acted as servicer. Within days of the Closing Date, I traveled to

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Southern California to meet with one of the members of the Borrower under the Fiesta
Oak Valley Loan and to examine the Collateral. In the following weeks, Compass has
participated in further negotiations with the Borrower which have resulted in several
proposals that would satisfy the obligations under the Loan in full and thus avoid the
substantial costs and delay associated with a foreclosure proceeding.

16. | Compass has not ruled out commencing a foreclosure action on
this Loan; to the contrary, Compass has already retained counsel in California to pursue a
foreclosure action in the event Compass determines that is the best alternative. However,
in light of the aforementioned costs and delay of foreclosure, Compass views foreclosure
as a last resort, and is taking every possible step to work towards a consensual resolution
of the Loan. Based upon the success of its negotiations to date, Compass has every
reason to believe a non-foreclosure resolution will be finalized in a matter of weeks.

17. Compass is carefully monitoring the events in both the USAIP
Receivership and the involuntary chapter 11 case commenced against USAIP in this
Court, is in regular communication with counsel in such proceedings, and will take
appropriate action on behalf of the Direct Lenders as and when appropriate.

V. Information About DACA and Vindrauga

18. Attached hereto as Exhibit “A” is a copy of the website for DACA,

located at http://www.daca4.com/fag.html. I last visited the site on April 23, 2007. In

the loan servicing industry, it is widely known that DACA is an aggressive and
opportunistic acquirer of distressed debt. On its own website, DACA admits that it
purchases claims at a discount in anticipation of receiving a favorable return from the

debtor’s estate upon its emergence from bankruptcy.

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19. Set forth hereto as Exhibit “B” is a list of the beneficial interests
which DACA has acquired in the Fiesta Oak Valley Loan. The information was obtained
by reviewing assignments which were recorded with the local State recording office. The
information indicates that DACA acquired most, if not all, of its Direct Lender interests
subsequent to the Petition Date.

20. Attached hereto as Exhibit “C” is a copy of the website for

Vindrauga, located at http://www.vindrauga.com/faq.html. I last visited the site on April

23, 2007. On the website, Vindrauga admits that, among other things, (i) DACA is its
sister company, (ii) Howard Justus, DACA’s Declarant in support of the DACA
Objection, is a contact individual for Vindrauga’s website, (iii) if elected as the new Loan
Servicing Agent, Vindrauga will initiate foreclosure proceedings, and (iv) DACA will
purchase the Direct Lenders’ interests following a successful foreclosure.

21. Attached hereto as Exhibit “D” is the copy of a letter, dated
January 16, 2007 (the “Davis Letter”), from George A. Davis, an attorney for Compass,
to Dean Kirby, an attorney for DACA, which expressly warns DACA to cease and desist
from, among other things, making false representations to Direct Lenders, including the
Direct Lenders in the Fiesta Oak Valley Loan, about DACA and/or Vindrauga’s ability to
compromise, subordinate, or otherwise waive accrued servicing fees, late charges, and/or
default interest, and from making false statements about Compass.

22. Notwithstanding the Davis Letter, based upon my information and
belief, and as demonstrated in the Objection, DACA/V indrauga continued to solicit
Direct Lenders in the Fiesta Oak Valley Loan, including making further

misrepresentations about Vindrauga’s ability to compromise, subordinate, or otherwise

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waive accrued servicing fees, late charges, and/or default interest which constitute Assets
purchased by Compass from USACM, notwithstanding express language to the contrary
in paragraph 14 of the Confirmation Order.

23. DACA attempted to terminate Compass on March 2, 2007, merely
two weeks after Compass became its Loan servicer. As of the date of filing of the
Compass Motion, DACA had communicated to Compass one sentence in support of its
bid to terminate Compass for USACM’s alleged pre-petition failure to act.

24. Based upon my knowledge, information and belief, it is highly
suspect whether Fiesta Oak Valley investors who presumably have relied upon
DACA/Vindrauga’s representations are aware that they will not receive a penny until
(i) months of protracted foreclosure proceedings have been successfully concluded, (ii)
the investors have been charged for 100% of the foreclosure costs (attorneys fees, etc.),
and (ili) the investors have paid both DACA’s and Compass’ accrued fees.

VIL Compass Is Acquiring Over 51% of the Interests in the Loan

25. As of the date hereof, Compass is exercising its right under Section
2(c)(ill) of the Servicing Agreement to pay off certain Direct Lender under the Loan (the
“Call Right’). In accordance with Section 2(c)(iii) of the Servicing Agreement, Compass
is purchasing more than 51% of the beneficial interests in the Loan. Compass will
supplement this Declaration with a subsequent Declaration setting forth the specific
details of Compass’ acquisition of 51% of the beneficial interests in the Loan.

26. | As Compass will own over 51% of the beneficial interests in the
Loan, it will no longer be possible for the requisite 51% of Direct Lenders in the Loan to

replace Compass as Loan servicer.

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I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

EXECUTED this 23rd day of April 2007, at New York, New York.

Q44

David Blatt

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